         Case 1:11-cv-12007-JLT Document 28 Filed 08/23/12 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


Karen Berger
      Plaintiff
                                                   CIVIL ACTION
              V.

Northland Group, Inc.                              NO. 1:11-cv-12007-JLT
Defendant


                              ORDER OF DISMISSAL


TAURO, D. J.


       In accordance with the Court’s Memorandum and Order dated August 23, 2012,

granting Defendant’s Motion to Dismiss, it is hereby ORDERED that the above-entitled

action be and hereby is Dismissed.


                                             By the Court,

8/23/2012                                    /s/ C. Geraldino-Karasek
Date                                         Deputy Clerk
